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EXHIBIT 1

Notice of Right to Sue
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Case 5:21-cv-01519-JGB-SHK Document 1-1 Filed 09/07/21 Page 2of3 Page ID #:19
eel, STATE OF CALIFORNIA | Business, Consumer Services and Housing Agency. GAVIN NEWSOM, GOVERNOR

KEVIN KISH, DIRECTOR

 

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Ym | jp DEPARTMENT OF FaiR EMPLOYMENT & HOUSING
Ne ; yy 2218 Kausen Drive, Suite 100 | Elk Grove I CA | 95758
ss Li, (800) 884-1684 (Voice) | (800) 700-2320 (TTY) | California's Relay Service at 711
ica http:/Avww.dfeh.ca.gov | Email: contact.center@dfeh.ca.gov

August 4, 2021

Gregg Crawford
19024 Buckboard Ln
Riverside, California 92508

RE: Notice of Case Closure and Right to Sue
DFEH Matter Number: 202108-14366304
Right to Sue: Crawford / Trader Joe's

Dear Gregg Crawford:

This letter informs you that the above-referenced complaint filed with the Department of
Fair Employment and Housing (DFEH) has been closed effective August 4, 2021
because an immediate Right to Sue notice was requested.

This letter is also your Right to Sue notice. According to Government Code section
12965, subdivision (b), a civil action may be brought under the provisions of the Fair
Employment and Housing Act against the person, employer, labor organization or
employment agency named in the above-referenced complaint. The civil action must be
filed within one year from the date of this letter.

This matter may qualify for DFEH’s Small Employer Family Leave Mediation pilot
program. Under this program, established under Government Code section 12945.21, a
small employer with 5 -19 employees, charged with violation of the California Family
Rights Act, Government Code section 12945.2, has the right to participate in DFEH'’s
free voluntary mediation service. Under this program both the employee requesting an
immediate right to sue and the employer charged with the violation may request that all
parties participate in DFEH’s free voluntary mediation service. A request for mediation
must be submitted to the DFEH within 30 days of receipt of the Notice of Case Closure
and Right to Sue. If mediation is requested, the employee is prohibited from filing a civil
action until mediation is complete. The employee's statute of limitations to file a civil
action, including for all related claims not arising under section 12945.2, is tolled from
DFEH’s receipt of a mediation request under section 12945.21 until mediation is
complete. To request DFEH Small Employer Family Leave Mediation, email
DRDOnlinerequests @dfeh.ca.gov and include the DFEH matter number indicated on

the Right to Sue notice.

To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this
DFEH Notice of Case Closure or within 300 days of the alleged discriminatory act,

whichever is earlier.

Sincerely,
 

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ff | \, DEPARTMENT OF FAIR EMPLOYMENT & HOUSING KEVIN KISH, DIRECTOR
MY tk @ yj 2218 Kausen Drive, Suite 100 | Elk Grove | CA 1 95758
SL (800) 884-1684 (Voice) | (800) 700-2320 (TTY) | California’s Relay Service at 711
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Department of Fair Employment and Housing
